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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
                v.                           :       CASE. NO. 21-CR-422-APM
                                             :
                                             :
SEAN DAVID WATSON,                           :
                                             :
                       Defendant             :

                           JOINT MOTION FOR CONTINUANCE
                              AND JOINT STATUS REPORT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and Defendant, by and through his attorney, Shane O’Neal (collectively, “the

Parties”), respectfully request a 30-day continuance of this matter and also submit a joint status

report, and state as follows:

       1.       On June 22, 2021, the defendant, Sean David Watson was charged by way of

information with (Count One) Entering and Remaining in a Restricted Building or Grounds in

violation of Title 18 U.S.C. § 1752(a)(1); (Count Two) Disorderly and Disruptive Conduct in a

Restricted Building or Grounds in violation of Title 18 U.S.C. § 1752(a)(2); and (Count Three)

Impeding Ingress and Egress in a Restricted Building or Ground and Aiding and Abetting in

violation of Title 18 U.S.C. § 1752(a)(3) and 2. ECF 10.

       2.        The defendant has been out on bond since his arrest on April 28, 2021. Defendant

remains compliant with conditions of release.

       3.       Since the Initial Appearance on June 24, 2021, the Court has ordered the exclusion

of time from Speedy Trial calculations through March 16, 2022, collectively. The Court has also

ordered a status hearing on March 16, 2022, at 9:00am.


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       4.       Since February 15, 2022, a formal plea offer was made to the defendant; this offer

expires on April 8, 2022. In addition to discussing a plea offer, the parties continued with

discovery. On March 8, 2022, defense was advised that over 250 FBI interviews of Capitol and

Metropolitan Police officers and associated exhibits (889 files total), and over 22 search warrants

and applications for information from organizations including Facebook, Google, Verizon, AT&T,

and T-Mobile/Sprint, were provided to the defense Relativity workspace.

       5.       Parties are agreed to a 30-day continuance of this matter and to excluding the time

within which the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.

Specifically, the defendant seeks time to review the provided plea offer.             Should a plea

agreement be reached within the next 30 days, parties agree to seek an earlier plea hearing.

Parties believe a 30-day continuance will allow for plea negotiations and further production and

review of discovery. A 30-day continuance will also facilitate resolution of this case short of trial.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                                               ___/s/____________________
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